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                                                      IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                                               Newport News Division

      CHESAPEAKE BANK,                              )
                                                    )
                 Plaintiff,                         )                              Civil Action No.
                                                    )
      v.                                            )                                 4:14-cv66
                                                    )
                                                    )
      STUART D. BERGER,                             )
      DEBORAH D. BERGER,                            )
      BERGER PROPERTIES OF OHIO LLC,                )
      BERGER PROPERTIES OF FLORIDA LLC,             )
      BERGER PROPERTIES OF TEXAS LLC,               )
      BERGER PROPERTIES OF MARYLAND LLC,            )
      S&D UNLIMITED OF TEXAS LLC,                   )
      S&D UNLIMITED LLC,                            )
      THE UNLIMITED GROUP LLC,                      )
      THE LAW OFFICES OF STUART BERGER PLLC, )
                                                    )
                  Defendants.                       )
         __________________________________________ )


                PRELIMINARY LIST OF SIGNIFICANT ISSUES DISCOVERED BY RECEIVER IN FIRST 30 DAYS



      As noted in the Receiver’s Interim Report, the Defendants continue to assert the Order appointing the Receiver does not apply to real property of the
Defendants that has not been pledged to Chesapeake Bank (“Bank”) as security. The Receiver and the Bank continue to maintain that the Order applies to both
real property pledged by the Defendants to the Bank (collectively, the “Pledged Property”) and to real property of the Defendants subject to judgment liens in
favor of the Bank (collectively, the “Judgment Lien Property”). Defendants continue to refuse to provide the Receiver with access to the books and records of the
Judgment Lien Property. Notwithstanding these actions, the Receiver has, in limited circumstances, received directly from third parties some information
concerning the Judgment Lien Properties such as, for example, notices of cancellation of property insurance. Except as otherwise expressly stated herein, the
information contained in this exhibit pertains to Pledged Property.
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                       PROPERTY WITH UNPAID MORTGAGES/DEEDS OF TRUST SENIOR TO CHESAPEAKE BANK¹
  State                             Address                                        City             Past-Due Amount                            Months Delinquent

  Pledged Property:
    IL                        253 Delaware #17B                                 Chicago                $1,165.62                           Unpaid mortgage 2 months
    IL                            233 E Erie                                    Chicago                $1,424.82                           Unpaid mortgage 2 months
    IL                        254 Delaware #5C                                  Chicago                $1,597.72                           Unpaid mortgage 2 months
    IL                        253 Delaware #13C                                 Chicago                $1,592.52                           Unpaid mortgage 2 months
                                                                                Subtotal               $5,780.68

  Judgment Lien:
   MD                            6 properties2                                See Footnote             $8,539.94                           Unpaid mortgage 2 months
   OH                            3399 W 151st                                   Cleveland              $2,346.08                           Unpaid mortgage 2 months
   OH                            750 Prospect                                   Cleveland              $1,717.78                           Unpaid mortgage 2 months
   OH                            1401 W 75th                                    Cleveland               $948.10                            Unpaid mortgage 2 months
    FL                           2841 N Ocean                                 Ft. Lauderdale           $1,749.51                           Unpaid mortgage 3 months
    TX                            7 properties                                                        $20,000.00                           Unpaid mortgage 2 months
    TX                             2424 Ave L                                   Galveston              $3,983.80                           Unpaid mortgage 2 months
    TX                            7 properties                                                         $6,036.80                           Unpaid mortgage 2 months
                                                                                Subtotal              $45,322.01

                                                                                 Total               $51,102.69

  ¹ This table contains a list of properties subject to mortgages/deeds of trust senior to Chesapeake Bank, all of which mortgages/deeds of trust are
   delinquent with aggregate amounts past-due as reflected in the column titled "Past-Due Amount."
  2
   1500 Greenspring Rd., Lutherville, MD 21093; 10547 Twin Rivers Dr. D2, Columbia, MD 21044; 1809 Snow Meadow #301; Baltimore, MD 21209; 5 Windblown Ct., Baltimore, MD 21209; 8212 Oakleigh
  Rd., Parkville 21234; 12 Brandon Ct. #202, Lutherville, MD 21093.




                                                     PLEDGED PROPERTY SUBJECT TO DELINQUENT TAXES
  State                             Address                                        City             Past-Due Amount                       Status of Tax Certificate Sales
      MD                       802 Stags Head Rd.                               Baltimore              $16,650.00                                 Sale in process
      MD                        400 Five Farms Ln.                              Lutherville            $8,751.00                                  Sale in process
      OH                      1401 W. 75th St. Unit C                          Cleveland                $6,501.19                                Sale Complete
      OH                   4782 Broadview Rd (10 units)                        Cleveland               $24,119.14                                Sale Complete
      OH                     1401 W 75 A Downstairs                            Cleveland                $7,505.01                                Sale Complete
      OH                       1401 W 75 St Unit #E                            Cleveland                $9,041.02                                Sale Complete
      OH                         2142 Wyandotte                                Lakewood                $12,219.07                                Sale Complete
      OH                          3214 W. 140th                                Cleveland                $7,442.42                                Sale Complete
      OH                       12100 Oak Park Blvd                           Garfield Heights          $10,046.38                                Sale Complete
      OH                 1371 Clarence Ave 101 Parking #1                      Lakewood                $17,900.26                          No knowledge of sale process
      OH                       5415 Bridge (4 units)                           Cleveland                23,045.62                          No knowledge of sale process
      OH                          9807 Robinson                              Garfield Heights           $5,546.23                          No knowledge of sale process
      OH                     5401 Bridge Ave, Unit 6                           Cleveland                 $276.49                           No knowledge of sale process
      OH                 1851 King James Pkwy. Unit 114                         Westlake                $3,907.97                          No knowledge of sale process
      OH                     1401 W. 75th St. Unit B                            Cleveland               $1,620.21                          No knowledge of sale process
      OH                           3365 Spencer                                Rocky River              $6,331.28                          No knowledge of sale process
      OH                           1368 Brockley                                Lakewood                $2,207.83                          No knowledge of sale process
      OH                            1386 W 73rd                                 Cleveland                 $96.14                           No knowledge of sale process
      OH                         1457 Winchester                                Lakewood                $5,959.42                          No knowledge of sale process
      OH                         3140 Wooster Rd                               Rocky River              $2,125.63                          No knowledge of sale process
      OH                          3306 Bosworth                                 Cleveland               $1,374.25                          No knowledge of sale process
      OH                           165 Berkshire                                Avon Lake                $120.13                           No knowledge of sale process
      OH                        20996 Detroit #16                              Rocky River              $3,371.63                          No knowledge of sale process
      OH                          2750 Shadley St                              Streetsboro              $2,448.49                          No knowledge of sale process
      TX                           619 7th Street                                Humble                  $725.03                           No knowledge of sale process
                                                                                 Total              $179,331.84




121225.3                                                                                        2
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                                                                  PROPERTY INSURANCE ISSUES
  State                             Address                                City              Amount                                   Issue

  Pledged Property:
                                                                                                         Flood insurance for this property expired on October 14, 2014 and
    FL                          2920 Center Ave                       Ft. Lauderdale         $414.00                  the Receiver is pursuing reinstratment.

                                                                        Subtotal             $414.00

  Judgment Lien Property:
    TX                             2424 Ave L                           Galveston            $293.75       Previously cancelled insurance policy reinstated by Receiver.

    TX                             2424 Ave L                           Galveston            $485.00     Flood insurance for this property expired on December 14, 2014.
                                                                        Subtotal             $778.75

                                                                         Total             $1,192.75




                                                        PLEDGED PROPERTY MAINTENANCE ISSUES
  State                             Address                                City              Amount                                    Issue
                                                                                                         Unsafe electrical panels which posed a danger to the public were
   OH                           15800 Detroit Ave                      Lakewood             $2,221.00                     promptly replaced by Receiver.



                                                                         Total             $2,221.00




                            PLEDGED PROPERTY SUBJECT TO CONDEMNATION PROCEEDING OR LAWSUITS
  State                             Address                                City              Amount                                Description
                                                                                                         Property subject to condemnation proceeding initiated by City of
   OH                            3306 Bosworth                          Cleveland            $80,000     Cleveland. Intial purchase price of the property is approximately
                                                                                                                                     $80,000.
   OH                            5415 Bridge Up                         Cleveland            $470.00                       Lawsuit over security deposit
   OH                         4782 Broadview Rd #9                      Cleveland           $2,000.00                 Lawsuit based on emotional damages




                                                                         Total             $82,470.00




                                                     PROTECTIVE ADVANCES BY CHESAPEAKE BANK
           Property Insurance for Pledged Propertyand Judgment Lien
                                                                                            $23,189.00
           Property.
                                                                         Total             $23,189.00




121225.3                                                                               3
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                                           PLEDGED PROPERTY RENT NOT TURNED OVER TO RECEIVER3
  State                              Address                                     City              Amount                                    Issue
  OH                      1371 Clarence Ave. 102 Parking                      Lakewood             $450.00     Cash rent not turned over by Dr. Berger.
  OH                              5403 Bridge 1                               Cleveland            $425.00     Cash rent not turned over by Dr. Berger.
  OH                         5401 Bridge Ave, Unit 6                          Cleveland            $650.00     Cash rent not turned over by Dr. Berger.
  OH                         5403 Bridge Ave, Unit 7                          Cleveland            $630.00     Cash rent not turned over by Dr. Berger.
  OH                         1401 W. 75th St. Unit B                          Cleveland            $575.00     Cash rent not turned over by Dr. Berger.
  OH                          15726 Detroit Ave, #3                           Lakewood             $725.00     Cash rent not turned over by Dr. Berger.
  OH                          15726 Detroit Ave, #2                           Lakewood             $475.00     Cash rent not turned over by Dr. Berger.
  OH                        15804 Detroit Ave Driveup                         Lakewood             $745.00     Rent payment by check not turned over by Dr. Berger.
  OH                           2570 Shadley Street                           Streetsboro           $795.00     Rent payment by check not turned over by Dr. Berger.
  TX                          9531 Pagewood Lane                               Houston             $825.00     Rent payment by check not turned over by Dr. Berger.
  TX                                1502 29th                                 Galveston            $500.00     Rent payment by check not turned over by Dr. Berger.
                                                                               Total:             $6,795.00

                                          GRAND TOTAL                                            $346,302.28
  3
      According to journal maintained by employee of the Defendants who reports to Dr. Berger.




121225.3                                                                                    4
